     Case 1:21-cr-00143-ELR-CCB Document 106-1 Filed 01/19/23 Page 1 of 1


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA

                                               )
______________________________,
USA                                            )
                           Plaintiff(s)        )
                                               )      Case No. 1:21--cr-00143-ELR-CCB
                V.                             )
                                               )
______________________________,
Victor Hill                                    )
                    Defendant(s)               )


                      NOTICE OF FILING OF OFFICIAL TRANSCRIPT

        Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above-captioned matter. Counsel/Parties have twenty-one (21)
days from the date of delivery of the transcript to the Clerk to file with the Court a Request for
Redaction of this transcript. If no Request for Redaction is filed, the transcript may be made
remotely electronically available to the public without redaction after 90 calendar days.

       Any counsel or party needing a copy of the transcript to review for redaction purposes
may purchase a copy from the court reporter/transcriber or view the document at the Clerk’s
Office public terminal.
                 ______________
                 January 19, 2023         __________________________________
                                          Geraldine S. Glover
                        Date                             Court Reporter


                     VERIFICATION OF FINANCIAL ARRANGEMENTS

       Proceeding Type:       ______________________________________________
                              Oral Arguments
                              ______________________________________________
       Proceeding Date:       ______________________________________________
                              November 29, 2021
                              ______________________________________________
       Volume Number:         ______________________________________________
                              1
                              ______________________________________________

      Notice is hereby given that financial arrangements for a copy of the transcript have been
made with the following individual(s): Marissa H. Goldberg, Drew Findling

_____________________________________________________________________________
as counsel/party in this case. He/She is to be provided with remote access to the transcript via
CM/ECF and PACER.

                 ______________
                 January 19, 2023         __________________________________
                                          Geraldine S. Glover

                        Date                              Court Reporter
